Case 2:23-cv-12886-SFC-EAS ECF No. 27-10, PagelD.627 Filed 07/16/24 Page 1of1

Exhibit 10: Bergunder Imploring for File Conveyance & Timeline

Request for Updated Timeline for File Conveyance

Katrina Bergunder <bergunki@msn.com>
Fri 4/12/2024 10:49 AM
To:Adam Taub <adamgtaub@clgplc.net>;Katie Sargent <katiemsargent@clgplc.net>

Dear Mr. Taub,

Thank you for your response, albeit somewhat disconcerting. | understand your position, but | would
appreciate some clarification and an updated timeline for the file conveyance, including previous versions of
the settlement agreement an

| recognize that you have other clients and obligations, and | respect that. However, given the importance of

this matter and the necessity of having all relevant documentation to proceed, | kindly request that you provide
a more specific timeframe for when | can expect to receive the requested information.

Having a clear understanding of when | will rc previous

versions of the settlement agreement will enable me to plan accordingly and move forward with confidence.

Adltionaly, regarding you 9.) ccc
SE there are still outstanding issues that need to be addressed. Therefore, |

am exploring all available options to ensure that my interests are adequately represented, Qi

| apologize if there was any confusion in my previous communication, and | hope this message clarifies my
current position.

| appreciate your attention to this matter and look forward to receiving an updated timeline from you soon.
Best regards, Katrina Bergunder

31
